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                                          EXHIBIT A
                                     Form of Proposed Order




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                                    IN THE UNITED STATES BANKRUPTCY COURT

                                         FOR THE DISTRICT OF DELAWARE

In re:                                                             )        Chapter 11
                                                                   )
W. R. GRACE & CO., et al.,1                                        )        Case No. 01-01139 (JK)
                                                                   )        Jointly Administered
                                    Debtors.                       )        Re: Docket No.
                                                                   )        10/26/09 Agenda No.

      ORDER AUTHORIZING THE SALE OF 5% OF THE LIMITED LIAILITY
    COMPANY INTERESTS OF ADVANCED REFINING TECHNOLOGIES LLC AND
           CERTAIN RELATED AGREEMENTS AND TRANSACTIONS

            Upon consideration of          the Motion of   the Debtors for an Order Authorizing the Sale of 5%

of The Limited Liabilty Company Interests of Advanced Refining Technologies LLC and

Certin Related Agreements and Transactions (the "Motion"); and it appearng that the relief

requested in the Motion is in the best interests of the Debtors,2 their estates and creditors, it is

hereby



                           the following 62 entities: W. R. Grace & Co. (f/ka Grace Specialty Chemicals, Inc.), W.
      The Debtors consist of

      R. Grace & Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
      Inc., CB Biomedical, Inc. (f/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
      Creative Food 'N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
      (f/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Parters I, Inc. (f/a
      Grace Cocoa Limited Parers I, Inc.), G C Management, Inc. (f/a Grace Cocoa Management, Inc.), GEC
      Management Corporation, GN Holdings, Inc., GPC Thomasvile Corp., Gloucester New Communities
      Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinar
      Systems, Inc., Grace Driling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
      Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
      (f/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
      Petroleum Libya Incorporated, Grace Taron Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
      R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
      Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
      Development Company, L B Realty, Inc., Litigation Management, Inc. (f/a GHSC Holding, Inc., Grace NH,
      Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MR Holdings
      Corp. (f/a Nestor-BNA Holdings Corporation), MR Intermedco, Inc. (f/a Nestor-BNA, Inc.), MRA
      Staffing Systems, Inc. (f/a British Nursing Association, Inc.), Remedium Group, Inc. (f/a Environmental
      Liabilty Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
      Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parners (f/a Cross Countr
      Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.
2
      Capitalized terms not defined in this Order shall have the meaning ascribed to them in, as the case may be, the
     Motion, the Agreements (as that term is defined in this Motion) or the First Amended Joint Plan of


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             FOUND AND DETERMINED THAT

              1. As evidenced by the affidavits of service filed with this Cour, and based upon


representations of counsel at the hearng on this matter, that adequate and sufficient notice of the

Motion has been provided, and that such notice was good, sufficient and appropriate under the

circumstances, and that no other or fuher notice is or shall be required;

             2. Good and sufficient reasons have been ariculated; and the relief requested in the

Motion is in the best interests of the Debtors, their estates, their creditors, equity holders and

other paries in interest for each of:

             . The Sale. Pursuant to section 363(b), the sale (the "Sale") of 5% (the "Sale Asset")
                   of the limited liabilty company interests ("LLC Interests") of Advanced Refining
                   Technologies LLC ("ART") by W. R. Grace and Co.-Conn. (variously, "Grace" or
                   "Seller") to Chevron U.S.A. Inc. (variously, "Buyer" or "Chevron"), for a sale price
                   of $4.0 milion (the "Sale Price"), pursuant to an agreement in the form attached
                   hereto as Exhibit A (the "Sale Agreement");

             . LLC Amendment. The amendment of the Limited Liabilty Company Agreement of
                ART dated March 1, 2001, between Grace and Buyer (as heretofore amended, the
                "LLC Agreement") to reflect the Sale and to effectuate certain other amendments, on
                the terms and conditions set forth in Amendment No.4 to the LLC Agreement, the
                   form of     which is attached hereto as Exhibit B (the "LLC Amendment");

             . Credit Agreement Amendment. Pursuant to section 363(b), amendment of the Credit
                   Agreement dated March 1, 2001 (as heretofore amended, the "Grace-ART Credit
                   Agreement"), between Grace and ART, to reduce the available credit line from
                   $24.75 milion to $20.25 milion (the "Credit Agreement Amendment", the form of
                   which is attached hereto as Exhibit C and together with the Sale Agreement and the
                   LLC Amendment, the "Agreements"); and

             . Capital Loans. Pursuant to sections 364(a) and (b) and section 503(b)(1), Grace's
                   borrowing from ART on an unsecured basis certain amounts as contemplated by the
                   Hydroprocessing Catalyst Supply Agreement dated March 1, 2001 (as amended, the
                   "Catalyst Supply Agreement"), between ART and Grace, to make maintenance
                   capital expenditures in connection with Grace's performance of the Catalyst Supply
                   Agreement, in the amounts of $8.7 milion and up to $3.5 milion, as evidenced by
                   demand notes in the form of Exhibit D-1 and Exhibit D-2, respectively (the

      Reorganization (the "Plan") in these Chapter 11 Cases, as amended, Docket nos. 19579,20666,20872, 20873
      and 21594.




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                    "Notes"), and additional borrowings in 2010 and thereafter through and including
                    2014 in amounts not to exceed $6.0 milion in anyone year, on substatially the same
                    terms and conditions as set fort in the Notes;

             3. Grace may consumate the Sale, and Buyer may acquire the Sale Asset, free and

clear of any and all liens and encumbrances, and any liens or encumbrances shall attach to the

proceeds of the Sale because each entity with a security interest in the Sale Asset: (i) has

consented to the Sale or is deemed to have consented to the Sale; (ii) could be compelled in a

legal or equitable proceeding to accept money satisfaction of any such interest; or (iii) otherwise

falls within the provisions of section 363(f) of the Banptcy Code, and therefore, in each case,

one or more of              the standards set forth in sections 363(f)(1)-(5) of                  the Banptcy Code has been

satisfied;

             4. The Debtors have demonstrated both a sound business purose and good and

sufficient reasons for each of the Transactions set forth in the Motion;

             5. Seller has full corporate power and authority to execute the Sale Agreement and


the other Agreements and consumate the Sale and each other Transaction contemplated by the

Motion and set forth in this Order;

             6. The Sale Agreement and the other Agreements were negotiated, proposed and

entered into by Seller and Buyer in good faith and without collusion; and Buyer is not an

"insider" of any of the Debtors as that term is defined in section 101 of the Banptcy Code;

and neither the Debtors nor Buyer have engaged in any conduct that would cause or permit the

Agreements (or the transactions contemplated therein) to be avoided or Buyer to be subjected to

any claim under section 363(n) of the Banptcy Code;

             7. In the absence of a stay pending appeal, Buyer wil be acting in good faith

pursuant to section 363(m) of the Banptcy Code in closing the Sale at any time on or after

entry of       this Order, and cause has been shown as to why this Order should not be subject to the


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stay provided by Fed. R. Ban. P. 6004(g) and 6006(d), and for those reasons Buyer is entitled

to all of     the protections afforded section 363(m) of                          the Banptcy Code;
             8. The consideration provided by Buyer pursuant to the Sale Agreement is: (i) fair


and reasonable; (ii) integral to effectuating the puroses of the Sale, which are more

proportionate fuding and management of ART, elimination of possible negative tax effects on

Grace from the fuding of ART, and the de                                         consolidation of ART from Grace Parent's

consolidated group for financial reporting puroses; (iii) wil enhance the value of the Debtors'

estates; and (iv) constitutes reasonably equivalent value and fair consideration for the Sale Asset;

             9. The Sale Agreement was not entered into for the purpose of hindering, delaying

or defrauding creditors under the Banptcy Code or any other law of the United States or any

state, territory, possession of                the United States or the District of            Columbia;

             10. Grace and the other Debtors have full corporate power and authority to execute

and deliver the Sale Agreement and the other Agreements and all other documents contemplated

thereby, and no fuher consents or approvals are required for Grace and the other Debtors to


consumate the transactions contemplated by the Agreements, except as otherwse set forth in

the respective Agreements;

             11. The Sale of the Sale Asset to Buyer wil be as of the date of closing of the Sale

(the "Closing Date") a legal, valid, and effective transfer of such assets, and vests or wil vest
Buyer with all right, title, and interest of Grace and the other Debtors to the Sale Asset free and

clear of all liens, claims or encumbrances accruing, arising or relating thereto any time prior to

the Closing Date; and neither Buyer nor its affiliates, successors or assigns, as a result of any

action taken in connection with the Sale: (i) is a successor to any of the Debtors; (b) has, de facto




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or otherwise, merged with or into any of the Debtors; or (c) is a continuation or substantial

continuation of any of              the Debtors or any enterprise ofthe Debtors;

             12. This order constitutes a final and appealable order within the meaning of 28


U.S.C. § 158(a). Notwthstanding Fed. R. Ban. P. 6004(h) and 6006(d), and to any extent

necessary under Fed. R. Ban. P. 9014 and Rule 54(b) of                       the Federal Rules of          Civil Procedure,

as made applicable by Fed. R. Ban. P. 7054, the Cour expressly finds that there is no just

reason for delay in the implementation of this Order, and expressly directs entry of judgment as

set forth herein; and

             13. For puroses of section 3 64(b), good and sufficient reason has been ariculated for

entry into the Capital Loans, the claims for which are allowable under section 503(b)(I) as actual

and necessar administrative expenses.

            IT is THEREFORE

            ORDERED that the Motion is granted in its entirety; and it is fuher

            ORDERED that the Agreements are approved; the Debtors are hereby authorized to enter

into the Agreements and to consumate the Transactions and take all actions related thereto; and

it is fuher

            ORDERED that the Debtors are authorized to take whatever other actions may be

necessary to consumate the Transactions; and it is fuher

            ORDERED that, upon consumation of the Sale, Buyer shall acquire the Sale Asset free

and clear of all           liens and encumbrances for puroses of section 363(f), and any such liens and

encumbrances shall attach to the proceeds of                   the Sale; and it is fuher

            ORDERED that Grace may enter into the Capital Loans for years 2007-08 and 2009

immediately upon entry of this Order, and may enter into Capital Loans for each of the years




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2010 through and including 2014 without fuher order of                                            this Cour; vrovided, however, that if

the cumulative amount of Capital Loans for any single year exceeds $6 milion, then the Debtors

shall fie a motion seeking an additional order of this Cour authorizing any such Capital Loans;

and it is fuher

            ORDERED that amounts owed under the Capital Loans shall be allowable as
administrative claims pursuant to section 503(b)(I); and it is fuher

            ORDERED that Buyer is entitled to all the protections afforded by section 363(m) of                                    the

Banptcy Code; and it is fuher
            ORDERED that the Cour shall retain jurisdiction to hear and determine all matters

arising from or relating to the implementation of this Order, the Transactions and the


Agreements; and it is fuher

            ORDERED that this Order is effective immediately upon its entry, notwithstanding Fed.

R. Ban. P. 6004(h).

Dated:                              , 2009




                                                                          Honorable Judith K. Fitzgerald
                                                                          United States Banptcy Judge




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                                   SALE AGREEMENT

             AGREEMENT dated as of November 30, 2009, between W. R. GRACE &
CO.-CONN., a Connecticut corporation, acting by and through its business unit Grace
Davison ("Seller"), and CHEVRON PRODUCTS COMPANY, a division of Chevron U.S.A.
Inc., a Pennsylvania corporation ("Buyer")

              WHEREAS, reference is made to the Limited Liability Company Agreement
dated March 1, 2001, as amended (the "LLC Agreement"), of Advanced Refining
Technologies LLC, a Delaware limited liability company (the "Company");

               WHEREAS, capitalized terms used but not defined herein are used with the
definitions given them in the LLC Agreement;

              WHEREAS, Seller wishes to selll to Buyer a portion of Seller's Company
Interest equal to 5% of the aggregate Company Interests (the "Purchased Interest");


              WHEREAS, an order (the "Sale Order") authorizing the transaction
contemplated by this Agreement (the "Transaction"), has been entered by the United States
Bankruptcy Court for the District of Delaware (the "Bankruptcy Court") in In re: W. R. Grace
& Co. et al., Debtors, Chapter 11, Case Nos. 01-1139 et al. (JKF) (Jointly Administered) in
the Bankruptcy Court, in which Seller is a debtor and debtor in possession, and said order
has become final and non-appealable; and

              WHEREAS, the sale of less than all of Seller's Company Interest
contemplated by this Agreement has been approved by a Unanimous Vote.

              NOW, THEREFORE, Seller and Buyer (the "Parties") hereby agree as
follows:

              1. Sale of Purchased Interest. Seller hereby sells to Buyer, and
Buyer hereby purchases from Seller, the Purchased Interest.

              2. Purchase Price. The purchase price for the Purchased Interest (the
"Purchase Price") is Four Million Dollars ($4,000,000.00).

              3. Actions at the ClosinQ. The closing of the Transaction (the
"Closing") will take place simultaneously with the execution and delivery of this Agreement.
At the Closing:




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                      (i) Buyer is delivering the Purchase Price to Seller by wire transfer
       in immediately available funds to the following account:

                      Bank: JPMorgan Chase Bank, NA
                      Bank ABA #: 021000021
                      Bank SWIFT code CHASUS33
                      Bank account name: W. R. Grace & Co.-Conn.
                      Bank account number: 016001257
                      Text message: Funds from Chevron for LLC Interest

                      (ii) Unless previously delivered, Seller is delivering to Buyer a
       certified copy of the Sale Order.

               4. Representations and Warranties of Seller. Seller hereby represents
and warrants to Buyer as follows:

               (a) Seller is a corporation duly organized and validly existing under the
laws of Connecticut, with full corporate power to enter into this Agreement and to perform
its obligations hereunder. Seller's execution and delivery of this Agreement, and its
performance of its obligations hereunder, have been duly and validly authorized by all
necessary corporate action on its part. Seller has duly executed and validly delivered this
Agreement, which is legally binding on it.

               (b) Seller's execution and delivery of this Agreement, and its performance
of its obligations hereunder, wil not (i) conflct with its certificate of incorporation or by-laws,
(ii) other than the authorization of the Bankruptcy Court, require it to obtain any
authorization, action, consent, order, approval of, or to give notice to or seek review by or
make any filng, registration or qualification with, any governmental, quasi-governmental,
administrative or judicial body, agency, instrumentality or authority, except for such of the
foregoing as has been obtained or effected or which the failure to obtain or effect would not
have a material adverse effect on its execution or delivery of this Agreement or the
performance of its obligations hereunder, or (iii) result in the breach of any of the provisions
of, or constitute a default under, any agreement, instrument or other document to which it is
a party or by which it is bound, which breach or default would have a material adverse
affect on the Transaction.

               (c) Seller is the sole record and beneficial owner of the Purchased
Interest, free and clear of all liens, security interests, pledges, options, encumbrances,
charges, agreements, and rights of third parties (collectively, "Liens"), other than Liens
arising in favor of (i) the Lenders under the Post-Petition Loan and Security Agreement
dated as of April 1, 2001, as amended (the "Loan Agreement", between the financial
institutions named therein as the Lenders, Bank of America, N.A. as the Agent, and W. R.
Grace & Co. and the subsidiaries of W. R. Grace & Co. named therein as the Borrowers,
and (ii) Buyer under the LLC Agreement and (ii) the rights of Buyer under the LLC
Agreement (the "Existing Liens").

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               (d) Other than the Existing Liens, there are no securities, rights,
subscriptions, warrants, options, or agreements of any kind outstanding or in effect to
purchase or otherwise acquire all or part of the Purchased Interest. Other than as provided
in the Loan Agreement or the LLC Agreement, Seller has not sold, granted, assigned or
transferred any right or interest in the Purchased Interest to any person or other entity,
which assignment or transfer is currently in force or effect.

               (e) To Seller's knowledge, no action, suit or proceeding before any court
or any governmental or regulatory authority and no investigation by any governmental or
regulatory authority has been commenced or is threatened against the Seller, seeking to
restrain, prevent or change the Transaction or questioning its validity or seeking damages
in connection with the Transaction.

               5. Representations and Warranties of Buver. Buyer hereby represents
and warrants to Seller as follows:

               (a) Buyer is a corporation duly organized, validly existing and in good
standing under the laws of Pennsylvania, with full corporate power to enter into this
Agreement and to perform its obligations hereunder. Buyer's execution and delivery of this
Agreement, and its performance of its obligations hereunder, have been duly and validly
authorized by all necessary corporate action on its part. Buyer has duly executed and
validly delivered this Agreement, which is legally binding on it.

               (b) Buyer's execution and delivery of this Agreement, and its performance
of its obligations hereunder, wil not (i) conflict with its articles of incorporation or by-laws,
(ii) require it to obtain any authorization, action, consent, order, approval of, or to give
notice to or seek review by or make any filing, registration or qualification with, any
governmental, quasi-governmental, administrative or judicial body, agency, instrumentality
or authority, except for such of the foregoing as has been obtained or effected or which the
failure to obtain or effect would not have a material adverse effect on its execution or
delivery of this Agreement or the performance of its obligations hereunder, or (iii) result in
the breach of any of the provisions of, or constitute a default under, any agreement,
instrument or other document to which it is a party or by which it is bound, which breach or
default would have a material adverse affect on the Transaction.

              (c) No action, suit or proceeding before any court or any governmental or
regulatory authority and no investigation by any governmental or regulatory authority has
been commenced or to its knowledge is threatened against it, seeking to restrain, prevent
or change the Transaction or questioning its validity or seeking damages in connection with
the Transaction.

              (d) Buyer understands that (i) the Purchased Interest has not been, and
will not be, registered under the Securities Act, or under any state securities laws, and is
being offered and sold in reliance upon federal and state exemptions for transactions not

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involving any public offering, (ii) the Purchased Interest may not be offered for sale, sold,
delivered after sale, transferred, pledged, or hypothecated unless qualified and registered
under applicable state and federal securities laws or unless, in an opinion of counsel for
Buyer satisfactory to the Company, such qualification and registration is not required, and
(iii) any transfer of the Purchased Interest is further subject to other restrictions, term and
conditions which are set forth in the LLC Agreement.

                       (e) Buyer (i) is acquiring the Purchased Interest solely for its own account
for investment purposes, and not with a view to the distribution thereof, (ii) is a
sophisticated investor with knowledge and experience in business and financial matters,
and (iii) has received sufficient information concerning the Company and has had the
opportunity to obtain additional information as desired in order to evaluate the merits and
the risks inherent in holding the Purchased Interest.

                      6. Indemnification: SurvivaL. (a) Each Member (the "Indemnitor") shall
indemnify and hold harmless the other Member from and against any and all                               losses, claims,
damages, liabilities and expenses, including (but without limiting the generality of the
foregoing) reasonable attorneys' fees and other legal expenses, arising from or out of or
with respect to the Indemnitor's breach of any representation, warranty, covenant or
agreement of the Indemnitor contained in this Agreement.

                       (b) The representations and warranties contained in this Agreement shall
survive the Closing of the Transaction and the delivery of this Agreement and any other
instruments or documents delivered pursuant hereto or in connection herewith.

                      7. Miscellaneous.

                       (a) Further Actions. From time to time each Party, as and when requested
by the other Party, shall execute and deliver, or cause to be executed and delivered, all
such documents and instruments and shall take, or cause to be taken, all such further or
other actions as the requesting Party may reasonably deem necessary or desirable to carry
out the intent and purposes of this Agreement and to consummate the Transaction.

                      (b) Entire Aqreement: Assiqnment. This Agreement contains the entire
agreement between the Parties with respect to the Transaction and supersedes all prior
arrangements or understandings with respect thereto. This Agreement may not be
assigned by either Party, and any attempted assignment in contravention of this Section
7(b) shall be deemed void and of no effect ab initio.

                      (c) Governinq Law. This Agreement shall be governed by and construed
in accordance with the laws of the State of Delaware, except for any principles of conflict of
laws that would require the application of the law of a jurisdiction other than Delaware.




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             (d) Counterparts. This Agreement may be signed in counterparts, each of
which may be signed by one or both Parties and all of which shall constitute a single
agreement.

             (e) Descriptive HeadinQs. The descriptive headings of this Agreement are
for convenience only and shall not control or affect the meaning or construction of any
provision of this Agreement.

             (f) Waivers and Amendments. Any waiver of any term or condition, or any
amendment or supplementation, of this Agreement shall be effective only if in writing and
signed by the Parties.


               IN WITNESS WHEREOF, the Parties have signed this Agreement as of the
date first above written.

w. R. GRACE & CO.-CONN.                        CHEVRON PRODUCTS COMPANY
                                               A Division of Chevron U.S.A. Inc.


By:                                            By:
Name:                                          Name:
Title:                                         Title:




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                    EXHIBIT B
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                              FOURTH AMENDMENT
                                       TO
                    LIMITED LIABILITY COMPANY AGREEMENT
                                       OF
                    ADVANCED REFINING TECHNOLOGIES LLC


   THIS FOURTH AMENDMENT ("Amendment") TO LIMITED LIABILITY
COMPANY AGREEMENT is made as of November 30, 2009, by and between
CHEVRON PRODUCTS COMPANY, a division of Chevron U.S.A. Inc., a Pennsylvania
corporation ("Chevron"), and W. R. GRACE & CO.-CONN., a Connecticut corporation,
acting by and through its business unit Grace Davison ("Davison").

      WHEREAS, Chevron and Davison (collectively, the "Members") entered into a
Limited Liabilty Company Agreement, effective March 1, 2001, as heretofore amended
by an agreement entitled "First Amendment to Limited Liabilty Company Agreement of
Advanced Refining Technologies LLC" dated November 12, 2001, by a second
agreement entitled "Second Amendment to Limited Liability Company Agreement of
Advanced Refining Technologies LLC" dated February 4, 2004, and by a third
agreement erroneously entitled "Second Amendment to Limited Liability Company
Agreement of Advanced Refining Technologies LLC" dated November 2, 2006
(hereinafter collectively referred to as the "LLC Agreement"); and

       WHEREAS, the Members wish further to amend the LLC Agreement.

       NOW, THEREFORE, the Members hereby agree as follows:


       1. Capitalized terms used but not defined in this Amendment are used with
the definitions given them in the LLC Agreement.

       2. The Members hereby acknowledge that as agreed by Unanimous Vote,
Davison is permitted to sell to Chevron a portion of its Company Interest equal to 5% of
the total issued and outstanding Company Interests of the Members (the "Purchased
Interest").

      3. Effective upon the transfer of the Purchased Interest to Chevron, Exhibit A
of the LLC Agreement shall be automatically amended to read as set forth in Exhibit A
attached hereto.

      4. (a) The definition of Advanced Refining Technologies LP or ART LP
in Section 1.1 of the LLC Agreement is hereby deleted in its entirety.

             (b) The definition of ART Gmbh Dividends in Section 1.1 of the LLC
Agreement is hereby amended to read as follows:



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                     "ART Gmbh Dividends" means a dividend (as defined in Article
              10, paragraph 4 of the US-Germany Tax Treaty) paid by Advanced
              Refining Technologies GmbH to the Company.

              (c) Section 1.1 of the LLC Agreement is hereby amended to add the
following definitions in alphabetical order:

                     "Additional Intellectual Property" shall have the meaning set
              forth in Section 13.5(e).

                     "Directors" shall have the meaning such forth in Section 7.9(f).

       5. Section 7.2 of the LLC Agreement is hereby amended to add at the end
thereof the following additional sentence:

              The Chairman of the Executive Committee (the IIChairman") shall be one
              of the Representatives. For the calendar year 2009 the Chairman shall be
              Gregory E. Poling or a substitute appointed by Davison. For the calendar
              year 2010 the Chairman shall be a Chevron Representative as appointed
              by Chevron. In subsequent odd-numbered calendar years the Chairman
              shall be a Davison Representative appointed by Davison, and in
              subsequent even-numbered calendar years the Chairman shall be a
              Chevron Representative appointed by Chevron.

       6.     Section 7 .9(b) of the LLC Agreement is hereby amended to read as
follows:

                     (b) Titles and Number. The elected Officers shall be the
              Managing Director, the Deputy Managing Director, the Secretary and
              Assistant Secretaries, the Director of Marketing, the Director of Supply,
              the Director of R&D, the Chief Financial Officer, and the Treasurer and
              Assistant Treasurers. There may be elected from time to time, in
              accordance with Section 7.9(c), such additional Offces às the Executive
              Commitee may desire.

       7. Section 7.9(d) is hereby deleted in its entirety, Section 7.9(e) is hereby
renamed Section 7.9(d), and a new Section 7.9(e) is hereby inserted to read as follows:

                     (e) Deputv Manaqinq Director. The Deputy Managing Director
              shall assist the Managing Director in implementing the business plan and
              strategies approved by the Executive Committee, and perform all duties
              incident to such office and such other duties as may, from time to time, be
              assigned to him by the Executive Committee or the Managing Director.
              The Deputy Managing Director may also hold one or more other Officer or
              other positons in the Company. If the Managing Director is an employee



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              of or otherwise associated or identified with one of the Members, the
              Deputy Managing Director shall be a nominee of the other Member. In the
              absence of the Managing Director, the Deputy Managing Director shall
              have all of the powers and duties conferred upon the Managing Director
              that the Managing Director delegates (orally or in writing) to the Deputy
              Managing Director for performance during such absence.

       8. The first sentence of Section 7.9(f) is hereby amended to read as follows:


                    (f) Directors. In the absence of the Managing Director and the
              Deputy Managing Director, the Officers whose titles include the term
              "Director" (the "Directors'? and that are designated by the Executive
              Committee shall, except as hereinafter provided, have all of the powers
              and duties conferred upon the Managing Director.

       9. In Section 7.9(g), (h) and (i), the phrase "assigned to him by the Executive
Commitee, the Chairman or the Managing Director' is hereby amended to read
"assigned to him by the Executive Committee, the Managing Director or the Deputy
Managing Director'.

       10. Section 8.8 of the LLC Agreement is hereby amended to read as follows:

              8.8 Transfer.

                      (a) If any Company Interest or part thereof is sold, assigned or
              transferred during any accounting period, Tax Profits, Tax Losses, each
              item thereof and all other items attributable to the transferred interest for
              such period shall be divided and allocated between the transferor and the
              transferee by taking into account their varying interests during the period
              in accordance with Code Section 706(d), using any conventions permited
              by law and selected by the Executive Committee.

                      (b) All distributions made after the date of such transfer with
              respect to such transferred interest shall be allocated between the
              transferor and the transferee in proportion to the number of days in the
              period for which the distribution was made that each held the transferred
              interest.

       11. Section 9.2(a)(ii) of the LLC Agreement is hereby amended by increasing
the Minimum Working Capital Requirements or MWCR to $60 milion.

       12. (a) Section 9.1 (a)(vi) of the LLC Agreement is hereby amended in its
entirety to read as follows:

              (vi) Any foreign taxes imposed on income or gain of any subsidiary of
                      the Company that give rise to foreign tax credits under Code


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                                  Section 902 as a result of a dividend (as defined in the relevant tax
                                  treaty) paid by such subsidiary to the Company (and the related
                                  Section 78 gross up) shall be allocated to the Members in
                                  proportion to their respective Company Interests at the time the tax
                                  credit arises as a pass-through item to the Members of the
                                  Company.

                       (b) Effective upon the transfer of the shares of Advanced Refining
Technologies GmbH from the Company to the Members, Section 9.1                           (a)(iii) and (iv) and
all definitions in Section 1.1 of the LLC Agreement that apply only to said Section
9.1 (a)(iii) and (iv), automatically shall be deleted and of no further force and effect.

           13. Section 10.3 of the LLC Agreement is hereby amended in its entirety to
read as follows:

                       10.3 Tax Returns. The Tax Matters Member, on behalf of the
                       Company, shall timely file, or shall cause to be filed, a complete and
                       accurate version of all federal, state, local and foreign tax returns required
                       to be filed by Company and its Affilates. Each Member shall furnish to the
                       Company upon the prior written request of the Tax Matters Member all
                      pertinent information in its possession relating to the Company's and its
                      Affilates' operations that is necessary to enable such tax returns to be
                      timely prepared and filed. Federal and state income tax returns wil be
                      prepared at the direction of the Members by either (i) a nationally
                       recognized, independent accounting firm selected by the Members or (ii)
                       the Tax Matters Member. if the Tax Matters Member prepares the U.S.
                       federal and state tax returns, the other Members shall have the right to
                       review such returns at least 30 days prior to the earlier of the actual filng
                       or the tax return extended due date as prescribed by law. The Tax
                      Matters Member wil submit a draft of the returns to the other Members at
                      least thirty (30) days prior to the filng of any return and, in the case of the
                      federal partnership return, in no event later than June 30 of the year in
                       which the return is due. if upon review, the other Members reasonably
                      believe that the Tax Matters Member has not prepared a complete and
                      accurate return, then the other Members shall notify the Tax Matters
                      Member within 20 days of receipt of such return and the Tax Matters
                       Member shall revise the return to ensure that the tax filng is timely,
                       complete and accurate. The Tax Matters Member wil fie all tax returns
                       on behalf of the Company. Reasonable expenses of the Tax Matters
                      Member incurred in carrying out these duties shall be promptly reimbursed
                      by the Company.

           14. Section 10.4 of the LLC Agreement is hereby amended to add clause (ix)
thereto to read as follows:




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              (ix) to calculate the Research and Development tax credit using a
                         methodology applicable under the law that results in the maximum
                         available tax credit (in aggregate) to all Members.

       15. Section 1 0.5(e) of the LLC Agreement is hereby amended in its entirety to
read as follows:

                         (e) Furnishina Information. The Members shall furnish the
              Tax Matters Member within 30 days from the receipt of the request with
              such information (including information specifed in Code Sections 6230(e)
              and 6050K) as the Tax Matters Member may reasonably request to permit
              it to provide the Internal Revenue Service with suffcient information for
              purposes of Code Sections 6230(e) and 6050K.

       16. Section 13.5 of the LLC Agreement is hereby amended to add Section
13.5(e) thereto to read as follows:

                         (e) With respect to any intellectual property (other than
              trademarks) and technology owned by or licensed to the Company at the
              time of dissolution and not provided for in Section 13.5(a) through (d)
              (ltAdditionallntellectual Property"), the following provisions shall apply:
              (i) Additional
                                     Intellectual Property that is owned by the Company shall be
              transferred into joint ownership by the Members; and (ii) the Members
              shall use their reasonable best efforts to cause the Company's rights
              under licensed Additional Intellectual Property to be assigned jointly to the
              Members, or if such assignment cannot be obtained, then (to the extent
              permissible under applicable law and the terms of the licenses) enter into
              reasonable arrangements to provide both Members with the benefits of
              such licensed Additional         Intellectual Property.

     17. The provisions of Sections 17.1, 17.3, 17.4, 17.5, 17.9 and 17.10 of the
LLC Agreement shall apply to this Amendment, except that references therein to "this
Agreement" shall be deemed to refer to this Amendment.

       18. Nothing in the LLC Agreement shall prevent the amendment and
modification of any of the exhibits and schedules attached thereto or referred to therein.

       19. Except as modified by this Amendment, all the provisions of the LLC
Agreement shall remain in full force and effect.




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           IN WITNESS WHEREOF, the Members have executed as of the date first set
forth above, two copies of this Amendment, one such copy to be retained by                                   each.

CHEVRON PRODUCTS COMPANY                                                     w. R. GRACE & CO.-CONN.
A Division of Chevron U.S.A. Inc.


By:                                                                          By:
Name:                                                                        Name:
Title:                                                                       Title:




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             Exhibit C
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                                    FOURTH AMENDMENT TO CREDIT AGREEMENT
                                                   CW. R. Grace & Co.-Conn.)

                     THIS FOURTH AMENDMENT TO THE CREDIT AGREEMENT ("Fourth Amendment") is
entered into as of November _, 2009 ("Execution Date"), by and between ADVANCED REFINING
TECHNOLOGIES LLC, a limited liabilty company organized under the laws of Delaware (the
"Borrower"), and W. R. GRACE & CO.-CONN., a Connecticut corporation (the "Lender")

                                                         WITNESSETH

         WHEREAS, Borrower and Lender entered into that certain Credit Agreement dated March 1,
2001, as amended by that certain First Amendment to Credit Agreement dated as of February 4,2004,
that certain Second Amendment to Credit Agreement entered into as of May 1, 2006, and that certain
Third Amendment to Credit Agreement dated as of April 23, 2008 (hereinafter collectively referred to as
the "Credit Agreement"), pursuant to which Lender agreed to make certain loans to Borrower;

          WHEREAS, pursuant to Section 7.05 of the Credit Agreement, the parties hereto wish to enter
into this Fourth Amendment to amend the amount of the Commitment;

       NOW, THEREFORE, for and in consideration of the exchange of mutual promises and other
good and valuable consideration, the receipt and sufficiency of which is hereby acknowledged, Borrower
and Lender agree to the amendment of the Credit Agreement as follows:

1. The first sentence of Section 3.02 of the Credit Agreement is hereby amended to read in its
entirety as follows:

          "The Lender's Commitment shall be U.S.         $20,250,000 or such lesser amount as provided in this Section
          3.02."

2. This Fourth Amendment shall become effective on the later of (i) the Execution Date, and (ii) the
date upon which the Lender shall have received written evidence of the approval of this Fourth
Amendment by the Borrower's Executive Committee pursuant to Section 7.05 of the Credit Agreement.

3. Except as otherwise expressly amended hereby, the Credit Agreement remains in full force and
effect and unmodified, and except as otherwise defined herein, all capitalized terms used in this Fourth
Amendment shall have the same meanings ascribed thereto in the Credit Agreement.

      IN WITNESS WHEREOF, the parties hereto have caused this Fourth Amendment to the Credit
Agreement to be executed by their respective duly authorized representatives as of the Execution Date.

Advanced Refining Technologies LLC                              W. R. Grace & Co.-Conn.



By                                                              By
     Scott K. Purnell                                           Name:
     Managing Director                                          Title
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                  NON-NEGOTIABLE PROMISSORY NOTE

                       2007 -2008 Maintenance Capital



 US$8,700,000                                            November _, 2009
                                                          Columbia, Maryland



     FOR VALUE RECEIVED, W. R. Grace & Co.-Conn., a Connecticut
corporation having its principal offces at 7500 Grace Drive, Columbia,
Maryland 21044 ("Borrower"), hereby promises to pay to Advanced Refining
Technologies LLC, a Delaware limited liability company having its principal
offices at c/o W. R. Grace & Co.- Conn., 7500 Grace Drive, Columbia, Maryland
21044 ("Lender"), the principal amount of EIGHT MILLION SEVEN HUNDRED
THOUSAND U. S. DOLLARS (US$8,700,OOO), together with interest on the
principal amount hereof outstanding from time to time, as more particularly set
forth below, but in any event ON DEMAND by Lender or, upon the occurrence
and during the continuance of a Member Demand Event (as defined below), by
either member of Lender.

     This Promissory Note evidences amounts borrowed in 2009 to fund
Maintenance Capital Expenditures (as such term is defined in Section 5.5 of
the Hydroprocessing Catalyst Supply Agreement effective March 1, 2001, as
amended, between Lender and Borrower) in 2007 and 2008.

      Interest on this Promissory Note shall be calculated based on a year of 360
days and actual days elapsed, and shall be payable monthly on the 15th day of
each month (or if such day is not a Business Day, then on the next succeeding
Business Day), commencing December 15, 2009, for the immediately
preceding calendar month, and on the day when any principal prepayment is
made with respect to the amount then prepaid.

      Interest shall be calculated at the rate of interest per annum equal (to the
full extent permitted by applicable law) to UBOR (as defined below) plus 125
basis points (a basis point being equal to 1/100th of a percentage point);
provided, however, that upon the occurrence and during the continuance of
any default by Borrower in the scheduled payment of any amount due under
this Promissory Note, which default shall continue for five Business Days after
notice thereof to Borrower by Lender, or in the payment of any amount due


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under this Promissory Note upon demand, interest shall, to the full extent
permitted by law, thereafter accrue (as well after as before judgment) on such
overdue amount at a rate equal to one percentage point (1 %) above the rate of
interest otherwise applicable herein. Interest shall be payable in respect of any
principal amount hereof for the date of this Promissory Note, but not for the day
on which such principal amount is repaid.

      Principal will be paid in 80 equal monthly payments of $108,750.00, or in
full upon demand as provided herein. Principal payments shall be made on
the 15th day on each consecutive month commencing January 15, 2010 (or if
such day is not a Business Day, then on the next succeeding Business Day).

      As used in this Promissory Note, the following terms shall have the
following meanings:

      "Business Day" shall mean a day on which banks are not required or
      authorized to close in New York, New York or Columbia, Maryland, U.S.A.
      "Initial Interest Period" shall mean the period commencing on the date of
      this Promissory Note and ending on December 31,2009.

      "Interest Period" shall mean the Initial Interest Period and, thereafter, each
      quarterly period commencing on the first day of each subsequent calendar
      quarter and ending on the last day of such subsequent calendar quarter
      during the term of this Promissory Note.

      "L1BOR" shall mean for each Interest Period the London Interbank Offered
      Rate for a loan of three months that appears on the Thomson One BBA
      L1BOR Screen at close of business on the second Business Day
      immediately preceding the first day of such Interest Period (the "Interest
      Determination Date"); provided, however, that (i) if no such rate
      appears on the Thomson One BBA L1BOR Screen on the Interest
      Determination Date, then L1BOR shall mean for such Interest Period
      the London Interbank Offered Rate for a loan of three months
      published in The Wall Street Journal on the Interest Determination Date;
      or (ii) if such rate appears on neither the Thomson One BBA L1BOR
      Screen nor in The Wall Street Journal on the Interest Date, then L1BOR
      shall mean for such Interest Period the London Interbank Offered Rate for
      a loan of three months and in an amount comparable to the aggregate
      principal amount outstanding under this Promissory Note, quoted on the
      Interest Determination Date by Bank of America, N.A.

      "Member Demand Event" shall mean any of the following:

             (a) default by Borrower in the payment of any amount due and


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                    payable hereunder, which default has continued and is
                    continuing uncured for a period of at least 180 days; or
             (b) Borrower shall cease doing business as a going concern; or
             (c) Borrower shall, except in connection with its currently
                    pending case in the U.S. Bankruptcy Court for the District of
                    Delaware, (i) voluntarily commence any proceeding or file
                    any petition seeking relief under the United States
                    Bankruptcy Code, as now constituted or hereafter amended,
                    or any other federal or state bankruptcy, insolvency,
                    receivership or similar law, (ii) apply for or consent to the
                    appointment of a receiver, trustee, custodian, or similar
                    official for Borrower or for a substantial part of the property or
                    assets of Borrower, (Hi) make a general assignment for the
                    benefit of creditors, or (iv) become unable, admit in writing its
                    inability, or fail generally to pay its debts as they become due;
                    or
             (d) an involuntary proceeding shall be commenced or an
                    involuntary petition shall be filed in a court of competent
                    jurisdiction seeking (i) relief in respect of Borrower, or of a
                    substantial part of the property or assets of Borrower, under
                    the United States Bankruptcy Code, as now constituted or
                    hereafter amended, or any other federal or state bankruptcy,
                    insolvency, receivership or similar law, (H) the appointment of
                    a receiver, trustee, custodian, or similar official for Borrower
                    or for a substantial part of the property or assets of Borrower,
                    or (iii) the winding-up, liquidation or dissolution of Borrower;
                    and such proceeding or petition shall continue undismissed
                    for sixty (60) consecutive days; or
             (e) a voluntary or involuntary proceeding shall be (i)
                    commenced, or (ii) petition shall be filed in a court of
                    competent jurisdiction, seeking the winding-up, liquidation or
                    dissolution of Lender; and such proceeding or petition shall
                    continue undismissed for sixty (60) consecutive days; or
             (f) Borrower shall sell, assign or transfer its Company Interest to
                    a member of Lender or any third party.

      "U. S. Dollars" and US$" shall mean lawful currency of the United States of
      America.
     All payments to the holder of this Promissory Note shall be made at the
address of the holder set forth in the first paragraph of this Promissory Note,
ATTENTION: Treasury Department, or at such other office or to such account as
such holder from time to time may specify by notice to Borrower.




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           This Promissory Note is not negotiable, and is not assignable or
transferable by the holder of this Promissory Note, except with the prior written
consent of Borrower.

           This Promissory Note may be prepaid in whole or in part, at any time and
from time to time without premium or penalty, upon not less than one Business
Day's notice to the holder. Each prepayment will be applied first to accrued and
unpaid interest, and then to installments of principal in the reverse order of
their due dates.
           Borrower waives, to the extent that it may lawfully do so, presentment,
protest, and all notices of whatever kind (other than a demand for payment as
provided for herein and the right to return of this Promissory Note marked
"canceled" against payment in full of all amounts due hereunder) in connection
with payment of this Promissory Note; and Borrower agrees that the entire
principal amount hereof may at any time and for any reason or no reason, in the
holder's sole discretion, be declared to be immediately due and payable; and
further agrees, on demand, to pay interest, to the extent permitted by applicable
law, on all overdue amounts of principal and interest hereunder at the rate
provided for herein. Borrower shall pay to the holder of this Promissory Note, on
demand, all costs and expenses (including, without limitation, attorneys' fees and
expenses) incurred by such holder in connection with enforcement and
collection of this Promissory Note.

           The obligation of Borrower to pay the holder of this Promissory Note shall
be absolute and unconditional and the rights of such holder shall not be
subject to any defense, set-off, counterclaim or recoupment by reason of any
indebtedness, obligation or liability at any time owing or incurred by such holder
to Borrower or otherwise.
       Demand by Lender or one of its members to Borrower for payment and
other notices to Borrower hereunder shall be made in writing (including facsimile
transmission) or by telephone promptly confirmed in writing at the address shown
following Borrower's signature hereon or at such other address as Borrower shall
specify by written notice to the holder of this Promissory Note at its office address
shown above (or at such other address as such holder from time to time may
specify by written notice to Borrower).
       Lender reserves the right to net any outstanding payments Lender may have
outstanding with Borrower from any source whatsoever at any time Borrower fails
to pay interest and repay principal by the due date under the terms of this
Promissory Note.
           No failure by the holder of this Promissory Note to assert any of its rights or
take any action hereunder, nor any delay therein, shall constitute a waiver of
such holders rights hereunder. The rights and remedies provided in this

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Promissory Note are cumulative and not exclusive of any rights or remedies
provided by law. No waiver of any such rights shall be effective unless made in
a writing signed by the holder of this Promissory Note and then shall be
effective in the particular instance and limited to the particular matter or matters
referred to.
       All amounts payable hereunder shall be paid in U. S. Dollars and in
immediately available and freely transferable funds.
       This Promissory Note shall be governed by and construed and enforced
in accordance with the laws of New York. Borrower hereby irrevocably submits
to the non-exclusive jurisdiction of any court of competent jurisdiction located in
New York, New York for purposes of enforcement hereof and agrees that process
may be served upon it in the manner specified herein for the delivery of notices or
in any other manner permitted by law.

      IN WITNESS WHEREOF, Borrower has caused this Promissory Note to be
executed by its duly authorized officer as of the date first above written.


                                         w. R. GRACE & CO.-CONN.



                                         By:
                                               Hudson La Force III
                                               Senior Vice President and
                                               Chief Financial Officer



Borrower's Address for notices:
W. R. Grace & Co.-Conn.
7500 Grace Drive
Columbia, Maryland
ATTENTION: Treasury Department
Telephone: (410) 531-4398 or (410) 531-4560
Fax: (410) 531-4461




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                                              .
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                  NON-NEGOTIABLE PROMISSORY NOTE

                          2009 Maintenance Capital


Up to US$3,500,000                                         November _, 2009
                                                            Columbia, Maryland



       FOR VALUE RECEIVED, W. R. Grace & Co.-Conn., a Connecticut
corporation having its principal offces at 7500 Grace Drive, Columbia,
Maryland 21044 ("Borrower"), hereby promises to pay to Advanced Refining
Technologies LLC, a Delaware limited liability company having its principal
offices at c/o W. R. Grace & Co.- Conn., 7500 Grace Drive, Columbia, Maryland
21044 ("Lender"), the principal amount of THREE MILLION FIVE HUNDRED
THOUSAND U. S. DOLLARS (US$3,500,000), or such lesser principal amount
as shall from time to time be borrowed and outstanding hereunder and reflected
on the grid attached hereto or in the records of the holder of this Promissory
Note, together with interest on the principal amount hereof outstanding from
time to time, as more particularly set forth below, but in any event ON
DEMAND.

     This Promissory Note evidences Amounts Borrowed from time to time in
2009 to fund Maintenance Capital Expenditures (as such term is defined in
Section 5.5, and as such amount must be approved by Lender per Section 5.6,
of the Hydroprocessing Catalyst Supply Agreement effective March 1, 2001,
as amended, between Lender and Borrower).

      Interest on this Promissory Note shall be calculated based on a year of
360 days and actual days elapsed, and shall be payable monthly on the 15th
day of each month (or if such day is not a Business Day, then on the next
succeeding Business Day), commencing December 15, 2009, for the
immediately preceding calendar month, and on the day when any principal
prepayment is made with respect to the amount then prepaid.

        Interest shall be calculated at the rate of interest per annum equal (to
the full extent permitted by applicable law) to UBOR (as defined below) plus
125 basis points (a basis point being equal to 1/10Oth of a percentage point);
provided, however, that upon the occurrence and during the continuance of
any default by Borrower in the scheduled payment of any amount due under this
Promissory Note, which default shall continue for five Business Days after notice
thereof to Borrower by Lender, or in the payment of any amount due under this
Promissory Note upon demand, interest shall, to the full extent permitted by
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law, thereafter accrue (as well after as before judgment) on such overdue
amount at a rate equal to one percentage point (1 %) above the rate of
interest otherwise applicable herein. Interest shall be payable in respect of
any principal amount borrowed hereunder for the first day of such borrowing, but
not for the day on which such principal amount is repaid.

      Principal on the Total Borrowed will be paid in 96 monthly payments
each equal to 1/96th of the Total Borrowed for a total repayment period of eight
(8) years unless repaid in part or in full beforehand or upon demand by
Lender. Principal repayments on the Total Borrowed shall be made on the
15th day of each consecutive month commencing February 15, 201 0 (or if such
day is not a Business Day then on the next succeeding Business Day).

      As used in this Promissory Note, the following terms shall have the
following meanings:

      "Amount Borrowed" shall mean any periodic draw against this Promissory Note
      for Maintenance Capital Expenditures by Borrower.

      "Business Day" shall mean a day on which banks are not required or
      authorized to close in New York, New York or Columbia, Maryland, U.S.A.
      "Initial Interest Period" shall mean the period commencing on the date of
      this Promissory Note and ending on December 31,2009.

      "Interest Period" shall mean the Initial               Interest Period and, thereafter, each
      quarterly period commencing on the first day of each subsequent
      calendar quarter and ending on the last day of such subsequent
      calendar quarter during the term of this Promissory Note.

      "L1BOR" shall mean for each Interest Period the London Interbank Offered
      Rate for a loan of three months that appears on the Thomson One
      BBA L1BOR Screen at close of business on the second Business Day
      immediately preceding the first day of such Interest Period (the "Interest
      Determination Date"); provided, however, that (i) if no such rate
      appears on the Thomson One BBA L1BOR Screen on the Interest
      Determination Date, then L1BOR shall mean for such Interest Period
      the London Interbank Offered Rate for a loan of three months published
      in The Wall Street Journal on the Interest Determination Date; or (ii) if
      such rate appears on neither the Thomson One BBA L1BOR Screen
      nor in The Wall Street Journal on the Interest Date, then L1BOR shall
      mean for such Interest Period the London Interbank Offered Rate for a
      loan of three months and in an amount comparable to the aggregate
      principal amount outstanding under this Promissory Note, quoted on
      the Interest Determination Date by Bank of America, N.A.

      "Total Borrowed" shall mean the sum of the Amounts Borrowed
      periodically under this Promissory Note the total which shall not exceed
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       the lesser of (i) the amount of the actual Maintenance Capital
       Expenditures for the year, and (ii) $3,500,000.

       "U. S. Dollars" and US$" shall mean lawful currency of the United States
       of America.

       All payments to the holder of this Promissory Note shall be made at
the address of the holder set forth in the first paragraph of this Promissory
Note, ATTENTION: Treasury Department, or at such other office or to such
account as such holder from time to time may specify by notice to Borrower.
       Borrower authorizes the holder of this Promissory Note to make entries in
its records and on the grid attached hereto to show the date and amount of
each borrowing and payment or prepayment made hereunder and the total
principal amount then outstanding, and such entries shall be prima facie
evidence thereof; but the failure of such holder to make any such grid entry
shall not affect the repayment obligations of Borrower hereunder.
       By January 31, 2010, Borrower will total the Amounts Borrowed under
this Promissory Note, and will advise Lender of the Total Borrowed at the next
meeting of the Executive Committee of Lender.
       This Promissory Note is not negotiable, and is not assignable or
transferable by the holder of this Promissory Note, except with the prior written
consent of Borrower.

       This Promissory Note may be prepaid in whole or in part, at any time and
from time to time without premium or penalty, upon not less than one Business
Day's notice to the holder. Each prepayment will be applied first to accrued
and unpaid interest on the Total Borrowed, and then to installments of principal
in the reverse order of their due dates.

       Borrower waives, to the extent that it may lawfully do so,
presentment, protest, and all notices of whatever kind (other than a demand
for payment as provided for herein and the right to return of this Promissory
Note marked "canceled" against payment in full of all amounts due hereunder)
in connection with payment of this Promissory Note; and Borrower agrees that
the entire principal amount hereof may at any time and for any reason or no
reason, in the holder's sole discretion, be declared to be immediately due
and payable; and further agrees, on demand, to pay interest, to the extent
permitted by applicable law, on all overdue amounts of principal and interest
hereunder at the rate provided for herein. Borrower shall pay to the holder of this
Promissory Note, on demand, all costs and expenses (including, without
limitation, attorneys' fees and expenses) incurred by such holder in
connection with enforcement and collection of this Promissory Note.

      The obligation of Borrower to pay the holder of this Promissory Note shall
be absolute and unconditional and the rights of such holder shall not be
subject to any defense, set-off, counterclaim or recoupment by reason of any

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indebtedness, obligation or liability at any time owing or incurred by such holder
to Borrower or otherwise.
       Demand for payment and other notices to Borrower hereunder shall be
made in writing (including facsimile transmission) or by telephone promptly
confirmed in writing at the address shown following Borrower's signature hereon
or at such other address as Borrower shall specify by written notice to the
holder of this Promissory Note at its office address shown above (or at such
other address as such holder from time to time may specify by written notice to
Borrower).
       No failure by the holder of this Promissory Note to assert any of its rights
or take any action hereunder, nor any delay therein, shall constitute a waiver
of such holders rights hereunder. The rights and remedies provided in this
Promissory Note are cumulative and not exclusive of any rights or remedies
provided by law. No waiver of any such rights shall be effective unless made in a
writing signed by the holder of this Promissory Note and then shall be effective in
the particular instance and limited to the particular matter or matters referred to.
       All amounts payable hereunder shall be paid in U. S. Dollars and in
immediately available and freely transferable funds.
       This Promissory Note shall be governed by and construed and
enforced in accordance with the laws of New York. Borrower hereby
 irrevocably submits to the non-exclusive jurisdiction of any court of competent
jurisdiction located in New York, New York for purposes of enforcement hereof
and agrees that process may be served upon it in the manner specified herein
for the delivery of notices or in any other manner permitted by law.

      IN WITNESS WHEREOF, Borrower has caused this Promissory Note to be
executed by its duly authorized officer as of the date first above written.

                                           w. R. GRACE & CO.-CONN.



                                           By:
                                                 Hudson La Force III
                                                 Senior Vice President and
                                                 Chief Financial Officer

Borrower's Address for notices:
W. R. Grace & CO.-Conn.
7500 Grace Drive
Columbia, Maryland
ATTENTION: Treasury Department
Telephone: (410) 531-4398 or (410) 531-4560
Fax: (410) 531-4461

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                                   GRID
                          W. R. GRACE & CO.-CONN.
                  NON-NEGOTIABLE PROMISSORY NOTE
                       2009 Maintenance Capital


Date           Amount          Amount Paid    Total Amount     Notation Made
               Borrowed        or Repaid      Outstanding      By




Total
Borrowed
Repayment
begins
February 15,
2010
